
650 S.E.2d 599 (2007)
In the Matter of C.N. and J.N., Minor Children appealed by Respondent Mother.
No. 292P07.
Supreme Court of North Carolina.
August 23, 2007.
Christy E. Wilhelm, for Mother.
*600 William R. Shilling, for Macon County DSS.
Mary Holliday, Attorney Advocate, for Guardian ad Litem.

ORDER
Upon consideration of the petition filed on the 22nd day of June 2007 by Respondent (Mother) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 23rd day of August 2007."
